Case 23-54963-sms    Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                              Document      Page 1 of 60




                    UNITED STATES BANKRUPTCY COURT
                     NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

IN RE:                                  )
                                        )       CHAPTER 11
                                        )
BJL EXPRESS, LLC,                       )       CASE NO. 23-54963-SMS
                                        )
            DEBTOR.                     )
                                        )
                                        )
MARY IDA TOWNSON,                       )
UNITED STATES TRUSTEE,                  )
                                        )
            MOVANT,                     )
                                        )       CONTESTED MATTER
v.                                      )
                                        )
BJL EXPRESS, LLC,                       )
                                        )
            RESPONDENT.                 )
                                        )

            BRIEF BY INTERPOOL, INC., D/B/A TRAC
     INTERMODAL IN SUPPORT OF UNITED STATES TRUSTEE’S
       EMERGENCY MOTION TO DISMISS OR CONVERT CASE

      COMES NOW Interpool, Inc., d/b/a Trac Intermodal, and files its Brief in

Support of the United States Trustee’s Emergency Motion to Dismiss or Convert Case

and shows the Court as follows:
Case 23-54963-sms     Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15      Desc Main
                               Document      Page 2 of 60



        1.   On January 5, 2024, the United States Trustee filed her Motion to

Dismiss or Convert Case (Dkt. No. 42).

        2.   Interpool, Inc., d/b/a TRAC Intermodal (“Interpool”) is a judgment

creditor of Debtor and filed its Proof of Claim in this case on June 8, 2023 (Claim No.

1-1).

        3.   Interpool supports the United States Trustee’s Motion insofar as it

requests dismissal of this bankruptcy, rather than a conversion of same.

        4.   Dismissal of this case is the appropriate remedy for the following

reasons:

             (a)    Debtor has failed to make a full and honest disclosure of its

                    income and assets in this case;

             (b)    Debtor misrepresented its 2021 gross revenue on its

                    Statement of Financial Affairs (Dkt. 1 at p. 25 of 39);

             (c)    Debtor misrepresented its 2022 gross revenue on its

                    Statement of Financial Affairs (Id.);

             (d)    During the time period January 1, 2021, to date, Debtor has

                    commingled its gross revenue and bank accounts with

                    those of its sister entity, ABJ Logistics and Brokerage

                    Services, LLC (“ABJ Logistics”), even as this bankruptcy

                                          -2-
Case 23-54963-sms    Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15     Desc Main
                              Document      Page 3 of 60



                    case has proceeded;

             (e)    Debtor has directed its customers to make payments for

                    Debtor’s invoices into the personal bank account of its

                    owner, Nenneh Nyang, while this case has proceeded. See

                    ¶ 8 below and Dkt. 39, Debtor’s Monthly Operating Report

                    for July 2023, filed on October 16, 2023, at page 7 of 33

                    under “Owner Investments”; and

             (f)    Despite Debtor’s attorney’s agreement to produce the

                    documents, Debtor has failed to produce the monthly bank

                    statements of Nenneh Nyang and ABJ Logistics, thus

                    continuing Debtor’s dishonesty as this case has pended.

      5.     Debtor’s Statement of Financial Affairs filed in this case on May 29,

2023 (Dkt. 1 at p. 25 of 39) claims it had gross revenue of $240,000.00 in calendar

year 2021 and gross revenue of $260,000.00 in calendar year 2022. These numbers

are false. Debtor actually had gross revenue of $1,385,405.56 during 2021 and

$1,465,880.69 during 2022. See Interpool’s Exhibit 1 hereto, true copy of Exhibit 1

from 2004 Examination of Debtor on December 1, 2023. Said Exhibit is a summary

of Debtor’s deposits of its revenues, as reflected on its monthly bank statements. See

also Exhibit No. 2 hereto, pages 28-35 of Debtor’s 2004 Examination.

                                          -3-
Case 23-54963-sms    Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15     Desc Main
                              Document      Page 4 of 60



      6.     According to Debtor’s testimony at the 2004 Examination, during 2021

and 2022 Debtor commingled ABJ Logistics’ revenues and bank accounts with

Debtor’s revenues and bank accounts. See Interpool’s Exhibit 3 hereto, pages 50-90

of Debtor’s 2004 Examination.

      7.     In August 2023 during this bankruptcy, Debtor filed its 2021 and 2022

federal income tax returns. In those tax returns, Debtor reported the same annual

income–$1,385,400 for 2021 and $1,465,874 for 2022–that are listed on Exhibit 1 to

this Motion, which are 6-7 times greater than the $240,000 and $260,000,

respectively, sworn to by debtor on its Statement of Financial Affairs in this case.

See Exhibit 3 hereto, at pages 72-79 of 2004 Examination.

      8.     As testified by Debtor at the 2004 Examination, during this case

Debtor’s customers have paid Debtor’s invoices by making payments into the

personal bank account of Debtor’s owner, Nenneh Nyang. See Exhibit 3 hereto, at

pages 79-90 of 2004 Examination. This is further evidence of Debtor’s dishonesty.

      9.     Despite Interpool’s attorney’s requests and Debtor’s attorney’s

agreement to produce the documents, Debtor has failed to produce the monthly bank

statements for ABJ Logistics and Nenneh Nyang.

      10.    A debtor in bankruptcy has a duty to provide complete and honest

disclosure, and this duty exists in all types of bankrupties. Robinson v. Tyson Foods,

                                         -4-
Case 23-54963-sms    Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                              Document      Page 5 of 60



Inc., 595 F.3d 1269, 1274 (11th Cir. 2010); In re JK Harris & Co., LLC, 475 B.R. 470

(Bankr. Ct., D. South Carolina 2012); In re Matus, 303 B.R. 660, 670 (Bankr. Ct.,

N.D. Ga. 2004).

      11.   Debtor is not entitled to bankruptcy relief under either Chapter 11 or

Chapter 7. Debtor falsified its 2021-22 gross revenue in its Statement of Financial

Affairs for strategic reasons. In any event, Debtor’s Statement of Financial Affairs

is false, and Debtor has commingled its revenues and bank accounts with those of its

individual principal and its sister company during January 1, 2021, to date. By this

dishonesty, Debtor has disqualified itself from bankruptcy.

      WHEREFORE, Interpool, Inc., d/b/a TRAC Intermodal hereby joins in the

United States Trustee’s Motion to Dismiss or Convert and respectfully requests that

the Court dismiss this bankruptcy case with prejudice.

      This 8th day of January, 2024.

                                        STOKES CARMICHAEL & ERNST LLP


                                        By: /s/ William K. Carmichael
1000 Parkwood Circle, Suite 300              William K. Carmichael
Atlanta, GA 30339                            Georgia Bar No. 110600
Ph: 404-352-1465                             Attorneys for Creditor Interpool,
Fax: 404-352-8463                             Inc. d/b/a TRAC Intermodal
wkc@scelaw.com
SCE File No. 22-01069



                                        -5-
Case 23-54963-sms    Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                              Document      Page 6 of 60



                         CERTIFICATE OF SERVICE

      I hereby certify that on January 8, 2024, I electronically filed this Brief by

Interpool, Inc. d/b/a TRAC Intermodal in Support of United States Trustee’s

Emergency Motion to Dismiss or Convert Case with the Clerk of Court using the

CM/EFC system which will automatically send email notification of such filing to the

following attorneys of record. I further certify that I have this day served the

following parties via email and/or U.S. Mail, costs prepaid, at the addresses listed

below. Addresses and methods of service are shown below:


                         BJL Express, LLC - Debtor
                         7446 Page Ct
                         Jonesboro, GA 30236-2614
                         Served by United States Mail


                         Mr. Milton D. Jones -Attorney for Debtor
                         P.O. Box 533
                         Lovejoy, GA 30250
                         miltondjonesatty@gmail.com
                         Served by e-mail


                         Mr. Gary M. Murphey - Trustee
                         Chapter 11 Subchapter V Trustee
                         Resurgence Financial Services, LLC
                         3330 Cumberland Blvd., Suite 500
                         Atlanta, GA 30339
                         murphey@rfslimited.com
                         Served by email

                                        -6-
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document      Page 7 of 60




                        United States Trustee
                        Attn: Alan Hinderleider, Esq.
                        362 Richard Russell Federal Building
                        75 Ted Turner Drive, SW
                        Atlanta, GA 30303
                        Alan.Hinderleider@usdoj.gov
                        Served by email


      This 8th day of January, 2024.


                                       STOKES CARMICHAEL & ERNST LLP


                                       By: /s/ William K. Carmichael
1000 Parkwood Circle, Suite 300             William K. Carmichael
Atlanta, GA 30339                           Georgia Bar No. 110600
Ph: 404-352-1465                            Attorneys for Creditor Interpool,
Fax: 404-352-8463                            Inc. d/b/a TRAC Intermodal
wkc@scelaw.com
SCE File No. 22-01069




                                       -7-
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document      Page 8 of 60




                       EXHIBIT 1
Case 23-54963-sms        Doc 46      Filed 01/08/24 Entered 01/08/24 12:07:15     Desc Main
                                    Document      Page 9 of 60


BJL Deposits 2021                   BJL Deposits 2022          Judgment Entry

January: $49,335.10                 January: $127,577.82       Clayton Judgment, $90,782.52
February: 68,079.17                 Feb:      118,395.95       Date: 11/16/22
March: 103,461.80                   March: 157,692.65
April:    137,222.16                April:    102,103.33      Gwinnet Judgment, $106,237.28
May:      136,670.57                May:      170,752.66      Date: 2/22/23
June:     101,169.03                June:     152,687.24
July:     131,291.05                July:     118,261.40
August: 127,805.93                  August: 122,533.03
Sept:     135,114.37                Sept:     169,225.50
Oct:      160,213.81                Oct:      129,131.45
Nov:      113,451.93                Nov:       85,945.69
Dec:      121,590.64                Dec:       11,573.97
Total: $1,385,405.56                Total: $1,465,880.69
(WFB 7797)                          (WFB 7797)
Monthly Average 2021:               Monthly Average 2022:
$115,450.46                          $122,156.72


BJL Deposits 2023

January: $43,992.00 (BA 9030)
January: 2,285.00 (WFB 7797)
Feb:      31,976.16 (BA 9030)
Feb:       2,180.56 (WFB 7797)
Mar:       2,075.85 (WFB 7797)
April:    13,960.00 (BA 9030)
April:    22,910.00 (Truist 8928)
April:     2,776.35 (WFB 7797)
May:      27,305.00 (Truist 8928)
May:       2,075.00 (WFB 7797)
June:     23,913.73 (WFB 3123)
July:     73,245.00 (WFB 3123)
Aug:      72,279.20 (WFB 3123)
Total: $320,973.85
Monthly Average 2023:
$40,121.73




                                                                        Movant’s Exhibit No. 1
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 10 of 60




                       EXHIBIT 2
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 11 of 60


                                                                                  28

  1          Movant, I guess.           What am I?      I'm a credit -- I'm

  2          a claimant of -- movant's fine.                Movant --

  3          because we did move for the depo -- for the 2004.
  4          So -- all right.           So, this will be Plaintiff's

  5          Number One or Movant One.              I'll be messing that

  6          up.
  7                 (Whereupon, Movant's Exhibit Number One was

  8          marked for identification.)

  9                 MR. CARMICHAEL:         Mr. Jallow, I have a copy
 10          for you too, sir.
 11   BY MR. CARMICHAEL:

 12          Q      And let me just tell you, if I may, what
 13   this is, Ms. Nyang, I just took the deposits, the BJL

 14   deposits for each month on these documents and put

 15   them on Movant's Exhibit Number One.
 16          A      Uh-huh.

 17          Q      So, for example, the deposits of revenues I

 18   assume for BJL in January 2021 were $49,335.10.                       And

 19   then in December 2021, BJL's deposits totaled

 20   $121,590.64.

 21          A      Okay.

 22          Q      And then I totaled them up for the year

 23   2021.      And then just to the right of that are the

 24   deposits for 2022, where I simply looked at the bank

 25   records that you-all gave me and put down the exact
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 12 of 60


                                                                                 29

  1   amount of the deposits each month for 2022.

  2          A      Okay.

  3          Q      And the total for that was $1,465,880.69
  4   that is for 2022.           And then I did the same thing on

  5   this Movant's Exhibit One for the BJL deposits for

  6   2023.      I simply took the bank records that you
  7   produced for me and took the deposit amounts for each

  8   month and put them on to this document.                   And I'm glad

  9   for you to look at these and verify that my numbers
 10   are correct.
 11                 Do you wish to look at any of these bank

 12   records or does my summary there, Movant's
 13   Exhibit One, look accurate to you?

 14                 MR. CARMICHAEL:         I was waiting for her to

 15          answer, then I'll get to you.
 16                 THE WITNESS:        Okay.

 17                      I see -- ya.         I think it's accurate.

 18          I'm not -- I'm not certain.               It is numbers I just

 19          summarized.         So, I didn't look at the whole

 20          paperwork to be sure that as of January, this is

 21          what it is, or as of February, this is what it

 22          is.

 23   BY MR. CARMICHAEL:

 24          Q      Okay.

 25                 Well, do you wish to do that now or can we
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 13 of 60


                                                                                 30

  1   proceed on the basis that that is an accurate

  2   summary?

  3          A      Let's go ahead.
  4          Q      All right.

  5                 MR. CARMICHAEL:         Yes, sir?      Mr. Jallow, you

  6          want to say something?
  7                 WITNESS JALLOW:         She's not the accountant.

  8          She will know nothing about these numbers.                     These

  9          numbers here, you should either ask me or we ask
 10          accountant.         She don't know nothing about these
 11          numbers.

 12                 MR. CARMICHAEL:         Okay.
 13                      Well, she's here today as --

 14                 WITNESS JALLOW:         She doesn't know.

 15                 MR. CARMICHAEL:         She's doesn't know?          Well,
 16          she's the witness.           Excuse me.       Excuse me.

 17          Ms. Nyang has already said the figures appear

 18          accurate to her and I've got --

 19                 WITNESS JALLOW:         She doesn't know.

 20                 MR. CARMICHAEL:         Okay.

 21                      I'm not -- look, okay, this is what I

 22          kind of thought might happen.               Let me just ask

 23          Ms. Nyang questions and we'll leave you for

 24          deposition afterwards, okay?

 25                 WITNESS JALLOW:         (Inaudible.)
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 14 of 60


                                                                                   31

  1                 MR. CARMICHAEL:         Hold on a minute now.           Hold

  2          on a minute, Mr. Jallow.              Please.     This is

  3          Ms. Nyang's deposition.
  4                 WITNESS JALLOW:         Okay.

  5                 MR. CARMICHAEL:         Okay.

  6   BY MR. CARMICHAEL:
  7          Q      I've got the 2021, 2022, and 2023 bank

  8   records right here, a whole copy of them.                    And here,

  9   let me just give you -- here's 2023, '21.                    Let's go
 10   just ahead and mark them.
 11                 So, 2021 bank records produced will be

 12   Movant's Exhibit Two.             Then the 2022 bank records
 13   will be Movant's Exhibit Three.

 14                 (Whereupon, Movant's Exhibit Numbers Two and

 15          Three were marked for identification.)
 16                 MR. CARMICHAEL:         And then 2023 will be

 17          Movant's Exhibit Four.

 18                 (Whereupon, Movant's Exhibit Number Four was

 19          marked for identification.)

 20                 MR. CARMICHAEL:         And Milton, here are copies

 21          for you.

 22                 MR. JONES:       Okay.

 23                      And these are the same ones we produced,

 24          correct?

 25                 MR. CARMICHAEL:         Yes, sir.      Duplicates.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 15 of 60


                                                                                 32

  1                 MR. JONES:       All right.

  2                 MR. CARMICHAEL:         They've got your track

  3          number on them.
  4                 MR. JONES:       No problem.

  5                      Now, folks, is that -- what this is, is

  6          that counsel has -- counsel asked for us to
  7          produce the bank records for the certain years.

  8          We produced those.           They say that these are

  9          copies of what we produced to them.
 10                      If you'd like to, you can certainly take
 11          the time to look at each one, but I think it's

 12          probably pretty much, you know, in order; but, my
 13          brother, take a look at that and then we'll come

 14          back to it.         If you find out later it's not

 15          correct, I'm sure, you know, we'll make the
 16          adjustment.         All right?

 17                 THE WITNESS:        Okay.

 18                 MR. JONES:       Okay.

 19                      Counsel --

 20                 MR. CARMICHAEL:         Thank you.

 21   BY MR. CARMICHAEL:

 22          Q      And any time, Ms. Nyang, you want to, I put

 23   Plaintiff's -- I'm sorry -- Movant's Exhibits Two,

 24   Three, and Four in front of you.                 Those are, as

 25   Mr. Jones just said, the bank records that were given
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 16 of 60


                                                                                 33

  1   to us, to my law firm, by Mr. Jones in this

  2   bankruptcy proceeding.

  3                 The 2021 bank records are Movant's
  4   Exhibit Two.       The 2022 bank records are Movant's

  5   Exhibit Three.          And the 2023 bank records are

  6   Movant's Exhibit Four.
  7                 MR. JONES:       Now, if you like to, you can

  8          certainly go through all those, if you'd like.

  9          You know, nobody's rushing you right now.                    It's a
 10          nice day, but it looks like the same pages I sent
 11          to them that you-all gave me.

 12                      Mr. Jallow, if I may, Mr. Jallow, you
 13          see those records; who sent me those records?

 14                 WITNESS JALLOW:         Us.    We did.     We did.

 15                 MR. JONES:       You all did?
 16                 WITNESS JALLOW:         We did.

 17                 MR. JONES:       So you-all sent me the records.

 18          Do you recognize those as what you-all sent me,

 19          they look like them?

 20                 WITNESS JALLOW:         They look like them.          Yes.

 21          They look like them.

 22                 MR. JONES:       In that case, let's keep moving.

 23   BY MR. CARMICHAEL:

 24          Q      All right.

 25                 If you would look at Movant's Exhibit One,
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 17 of 60


                                                                                 34

  1   that's the chart.

  2          A      Uh-huh.

  3          Q      Now, the deposits that are indicated on here
  4   from the bank records, these deposits are from

  5   customer revenues paid to BJL Express; am I correct?

  6          A      Yes.
  7          Q      And so, the customer revenues during

  8   June 2022, for example, were $152,687.24; is that

  9   right?
 10          A      Yes.
 11          Q      Was that yes?

 12                 WITNESS JALLOW:         We want to know how much --
 13          let's see.

 14                 THE WITNESS:        That's what I see here.           I'm

 15          saying yes to what I see.
 16                 MR. JONES:       Hold on.      Hold on.     Hold on.

 17                 WITNESS JALLOW:         Don't say what you see.

 18          Just look at these numbers.

 19                 MR. CARMICHAEL:         Okay.    Excuse me,

 20          Mr. Jallow.         Now, you can't be instructing her.

 21          I object to his instructing her during the

 22          deposition.

 23                 MR. JONES:       Understood.

 24                        Mr. Jallow, write me a note, okay?

 25          Write me a note as to what you want to have said
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 18 of 60


                                                                                  35

  1          and see if we can take it and put it in hand; but

  2          unfortunately -- I know you have a lot to say and

  3          we're going to let you say everything that you
  4          have to say.         We just have to do it in a little

  5          bit more orderly fashion.

  6                 WITNESS JALLOW:         Okay.
  7                 MR. JONES:       All right?

  8                 WITNESS JALLOW:         Ya.

  9                 MR. JONES:       Makes sense to me.
 10                        Counsel.
 11                 MR. CARMICHAEL:         Yes, sir.

 12                 MR. JONES:       Your witness.
 13                 MR. CARMICHAEL:         Yes, sir.

 14   BY MR. CARMICHAEL:

 15          Q      If you just look at Movant's Exhibit Three,
 16   that's the bank statements for 2022, Ms. Nyang, and

 17   do you see those numbers on the bottom right that say

 18   TRAC, hyphen, then it has a number afterwards?

 19          A      Where exactly?

 20          Q      Do you see where it says at the bottom

 21   right, TRAC, T-R-A-C?

 22          A      Yes.

 23          Q      And then it has a number out to the right?

 24          A      Uh-huh.

 25                 MR. JONES:       Do you see them?        Okay.       On the
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 19 of 60




                       EXHIBIT 3
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 20 of 60


                                                                                 50

  1          Q      And where is he located?

  2          A      I don't know.

  3          Q      Are you still intending to proceed in this
  4   bankruptcy?

  5          A      I'm not 100 percent certain.

  6          Q      Do you -- you know that you filed a proposed
  7   plan of arrangement?

  8          A      Uh-huh.

  9          Q      Do -- you know that, right?
 10          A      Yes, sir.
 11          Q      That was on August 26th of this year; is

 12   that right?
 13          A      Yes.

 14          Q      And do you still intend to seek confirmation

 15   of that plan?
 16          A      Yes.

 17                 (Whereupon, Movant's Exhibit Number Five was

 18          marked for identification.)

 19   BY MR. CARMICHAEL:

 20          Q      Ms. Nyang, this will be Movant's Exhibit --

 21                 MR. CARMICHAEL:         Where are we, Number Five?

 22                 THE COURT REPORTER:          Five.

 23                 MR. CARMICHAEL:         Here you go, Milton, that's

 24          for you.

 25                 MR. JONES:       Okay.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 21 of 60


                                                                                 51

  1   BY MR. CARMICHAEL:

  2          Q      If you want to look at this, Ms. Nyang, this

  3   is a copy of the Statement of Financial Affairs that
  4   BJL Express, LLC filed in this case on May 29, 2023

  5   with the petition, and you swore to it on the last

  6   page; am I right?
  7          A      Yes.

  8          Q      And if you'll see the gross revenue on the

  9   first page of Exhibit Five for 2022, you indicated it
 10   was $260,000; is that right?
 11          A      (No response.)

 12          Q      Does that sound about right?
 13                 MR. JONES:       (Indicating.)

 14                 THE WITNESS:        Yes.    Uh-huh.

 15   BY MR. CARMICHAEL:
 16          Q      And these are the revenues from BJL's

 17   customers; is that right?

 18          A      Yes.

 19          Q      Why is $260,000 -- why did you report only

 20   $260,000 for the whole year of 2022 when the actual

 21   bank deposits, as reflected on your bank records,

 22   show $1,465,880.69?

 23          A      That's because I did the numbers with my

 24   accountant.          Like I said, I'm not -- I need to do

 25   this with my accountant.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 22 of 60


                                                                                 52

  1          Q      You need to do what with your accountant?

  2          A      The numbers.

  3          Q      Now, I directly asked you about this some
  4   months ago and you said you were going to do that,

  5   ask your accountant.

  6          A      Right.
  7          Q      Have you done so?

  8          A      This -- he's still looking at it.               He's

  9   still going through with it.
 10          Q      Well, what is your answer to my question?
 11          A      I have to -- I have to let my accountant do

 12   the numbers.
 13          Q      Well, Ms. Nyang, your accountant -- are you

 14   talking about Mr. Taylor?

 15          A      Yes.
 16          Q      Okay.

 17                 When did you hire Mr. Taylor?

 18          A      When did we get Mr. Taylor, sir?

 19                 MR. JONES:       Oh, you didn't get Mr. Taylor

 20          till after the case was filed.

 21                        Before the case was filed, I think you

 22          had Bobbie East, is that the name of the person

 23          who was doing the accounting?

 24                 WITNESS JALLOW:         The accountant.

 25                 MR. JONES:       Who was the accountant?
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 23 of 60


                                                                                 53

  1                 WITNESS JALLOW:         We don't have accountant --

  2                 MR. JONES:       Who did your taxes?

  3                 WITNESS JALLOW:         Mr. Prince (sic).
  4                 MR. JONES:       Mr. Prince?

  5                 THE WITNESS:        Yes.

  6                 WITNESS JALLOW:         He's the one that did our
  7          taxes.

  8                 MR. JONES:       Okay.

  9                      So, were you talking about trying to see
 10          Mr. Taylor or Mr. Prince, regarding this question
 11          as to why there -- let me just break it down for

 12          you all.        Okay.    See if I can just cut to the
 13          chase.

 14                      Folks, when you all came in to see me, I

 15          asked you about how much money gross did you-all
 16          make all last year.            It looked like the figure

 17          you gave me was $260,000.              All right?      We looked

 18          at the -- at the deposits coming in for the

 19          entire year from 2022 for BJL.                They came out to

 20          be about 1.4 mill (sic).              The difference being

 21          well over a million dollars.

 22                      Counsel really is asking you what's up

 23          with that.        How could you have something that

 24          says $1.4 million came in, but then you said, it

 25          really was only $260,000.              That's what we're
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 24 of 60


                                                                                 54

  1          really trying to get to today, if we can just cut

  2          to the chase.

  3                 MR. CARMICHAEL:         Well, first, before you
  4          answer, Mr. Jallow, I want Ms. Nyang to answer

  5          that.

  6                 THE WITNESS:        I mean, I don't know.            I'll
  7          let him do the answering.

  8   BY MR. CARMICHAEL:

  9          Q      Okay.
 10                 Well, my question to you is a parody of what
 11   Mr. Jones, your lawyer, just asked you; what happened

 12   to the 1.2 million?
 13          A      I don't know.

 14          Q      Well, why did you put $260,000 on your

 15   Statement of Financial Affairs when the truth was
 16   1.465 million?

 17          A      I don't know.

 18          Q      But you swore to the 262,000, didn't you?

 19          A      That's what it shows.

 20          Q      I'm sorry.       I can't hear you.

 21          A      I mean, that's what it shows.              I don't know.

 22          Q      Did you have a document before you that said

 23   260,000 when you swore 260,000?

 24          A      (No response.)

 25          Q      When you came to Mr. Jones, did you have
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 25 of 60


                                                                                 55

  1   documents that reflected what the deposits were in

  2   2022?

  3          A      We didn't have documents.            We were just
  4   going through numbers.

  5          Q      Where did you come up with the 260,000 that

  6   you put down here?
  7          A      We were just -- we're talking numbers.                  We

  8   did this plus this plus that and that's what I came

  9   up with.
 10          Q      Based on what?
 11          A      Based on just adding, like right now, not

 12   looking at the bank statements.
 13          Q      So you came up with the 260,000 that you put

 14   on the Statement of Financial Affairs without looking

 15   at the bank statements?
 16          A      Yes.

 17          Q      Did you look at any documents to come up

 18   with the 260,000?

 19          A      No.

 20          Q      Wouldn't it be in your best -- in your best

 21   interest to estimate lower, lower money, in 2022

 22   because that would mean you would only have to make

 23   lower money and pay lower money to creditors in a

 24   plan of arrangement?

 25          A      I don't know.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 26 of 60


                                                                                 56

  1          Q      Did that cross your mind?

  2          A      No.

  3          Q      Well, you realize that in a Chapter 11,
  4   subchapter like we're in, that the debtor's plan is

  5   based on its income, right, you know that?                    It's

  6   disposable income; you know that, right?
  7          A      Yes.

  8          Q      So that if the income is lower, that would

  9   mean you would have to pay creditors less; am I
 10   right?
 11          A      Yes.

 12          Q      Is that the motive that you had when you
 13   came up with this number of $260,000?

 14          A      No.    Because I didn't look at -- like I

 15   said, I didn't look at statements, I didn't look at
 16   number -- the bank statements to know this numbers.

 17          Q      Did you look at any documents to come up

 18   with this 260,000?

 19          A      No.    I didn't look at any number.

 20          Q      Did Mr. Jallow tell you to put 260,000?

 21          A      No.

 22          Q      So you came up with the $260,000 of your own

 23   accord; is that right?

 24          A      Yes.

 25          Q      And did you also come up with the 240,000 of
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 27 of 60


                                                                                 57

  1   your own accord that you put down on this same

  2   document for 2021 annual revenues?

  3          A      Ya.
  4          Q      And if you look back at the chart, which is

  5   Movant's Exhibit One, you'll see that that amount of

  6   240,000 is one point one -- it's over a million
  7   dollars lower than the actual deposits in 2021; am I

  8   correct?

  9          A      Uh-huh.      Yes.    Uh-huh.
 10                 WITNESS JALLOW:         (Inaudible.)
 11   BY MR. CARMICHAEL:

 12          Q      So --
 13                 MR. CARMICHAEL:         Please don't interrupt,

 14          Mr. Jallow.         Okay.

 15   BY MR. CARMICHAEL:
 16          Q      So, Ms. Nyang, let me just get this

 17   straight.      So, it's 1.1 million off, erroneous for

 18   2021, and your Statement of Financial Affairs is

 19   $1.2 million off for 2022; is that right?

 20          A      Like I said, these numbers, I didn't look at

 21   statements when I was doing these numbers.                    So --

 22          Q      So you came up with both these numbers, the

 23   $240,000 and the $260,000, just based on what was in

 24   your brain --

 25          A      Yes.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15    Desc Main
                             Document     Page 28 of 60


                                                                                    58

  1          Q      -- at the moment?

  2          A      Yes.

  3          Q      You didn't look at any document?
  4          A      I didn't look at the documents.

  5          Q      All right.

  6                 And do you know what happened to the
  7   $2.3 million difference?              Is that on here somewhere

  8   on your Statement of Financial Affairs, the

  9   difference between the two?
 10          A      It's a business.         So, they have transaction
 11   happen.       You pay bills.        You pay employees.             It's not

 12   like this is just sitting down for -- for it to be in
 13   the account.         It has to be used.          So the trucking

 14   maintenance, the employees getting paid, the bills

 15   getting paid.          So, the numbers keep going, it keeps
 16   going down.

 17          Q      And this has been on file since May 29.

 18   Have you made any effort to correct these numbers

 19   that you filed with the court on May 29?

 20          A      Did we file taxes?

 21          Q      I'm sorry.       Speak up, because she can't get

 22   that down, Ms. Nyang.

 23                 MR. JONES:       You want to know, did we file

 24          any amendments?

 25                 THE WITNESS:        Right.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 29 of 60


                                                                                 59

  1                 MR. JONES:       It seems like we did file an

  2          amended -- or at least as part of the plan; but

  3          Mr. -- what I have to say is that I have the same
  4          question and I've asked the same question and I'm

  5          not quite sure we got an answer on it yet.

  6                        I think that we may want to start off
  7          with asking Ms. Nyang as to what happened to that

  8          money.

  9                        It sounds like Mr. Jallow has some
 10          information as to what happened to that money.
 11          And if we can put them both together, we might

 12          get a very unsatisfactory answer, but I think
 13          we'll get an answer.

 14                 MR. CARMICHAEL:         All right.

 15                        So you want me to let him supplement
 16          right now?        Okay.     I will do that.

 17   BY MR. CARMICHAEL:

 18          Q      So you've exhausted, I've asked you and

 19   you've answered all you can give me about where these

 20   two numbers came from, this 260,000 -- 260,000 and

 21   240,000; is that right?

 22          A      Yes.

 23          Q      Okay.

 24                 And -- and did you have an accountant, an

 25   outside accountant to help you with respect to the
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 30 of 60


                                                                                 60

  1   2021 numbers or the 2022 numbers?                 Mr. Princewill

  2   didn't help you come up with these numbers in May --

  3          A      No.
  4          Q      -- of 2023?

  5          A      No.

  6          Q      And Mr. Taylor is somebody you hired during
  7   the case?

  8          A      Yes.

  9          Q      So that's the two accountants, you had
 10   Mr. Princewill before the bankruptcy; is that right?
 11          A      Yes.

 12          Q      And now Mr. Taylor after the bankruptcy?
 13          A      Yes.

 14          Q      But neither one of them had anything to do

 15   with these numbers on this Statement of Financial
 16   Affairs; am I right?

 17          A      Yes.

 18          Q      Okay.

 19                 MR. CARMICHAEL:         And Mr. Jallow, can you

 20          explain why we have a $1,200,000 discrepancy

 21          between 2022 on the financial affairs statement

 22          and the actual truth and a $1.1 million

 23          discrepancy between 2021 revenue numbers and the

 24          bank deposits or the truth, why that difference?

 25                 WITNESS JALLOW:         Can you explain?        Say it
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 31 of 60


                                                                                   61

  1          one more time?          Say that one more time?

  2                 MR. CARMICHAEL:         Okay.

  3                      On Movant's Exhibit Five, which is the
  4          Statement of Financial Affairs, do you have it

  5          there?

  6                 WITNESS JALLOW:         Yes.
  7                 MR. CARMICHAEL:         Are two numbers on that

  8          first page, it says gross revenue, 2022, 260,000.

  9          And then 2021 it says 240,000; but on the chart,
 10          which is Movant's Exhibit One, it was actually --
 11          the revenues actually totaled 1,465,000 for 2022

 12          and 1,385,000 for 2021; why the discrepancy?
 13                 WITNESS JALLOW:         Okay.

 14                      Because on bank account, look on the

 15          money for BJL was going in there.
 16                 MR. CARMICHAEL:         Say what?

 17                 WITNESS JALLOW:         On the bank account, this

 18          bank account right here you're looking at, the

 19          BJL Express bank account, that was -- we -- we

 20          small business.          Some time we -- the money come

 21          from the other side of the business, it goes to

 22          the other company -- the other BJL Express.                     So,

 23          the money you see for BJL Express is not only the

 24          money for BJL Express.             The income you see

 25          coming, maybe coming from our other business.                     We
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 32 of 60


                                                                                 62

  1          have a good in keeping our accounts very well.

  2          And we can go back and fix that, but all the

  3          money you see on BJL Express, it's not BJL
  4          Express's money.           It's coming -- probably coming

  5          from the shipping side of the business.

  6                 MR. CARMICHAEL:         From the what?
  7                 WITNESS JALLOW:         The shipping --

  8                 MR. CARMICHAEL:         Shipping side of the

  9          business?
 10                 WITNESS JALLOW:         That's ABJ Logistics.
 11                 MR. CARMICHAEL:         Okay.

 12                      So you're combining the income of ABJ
 13          Logistics and Brokerage Services, LLC into the

 14          income of BJL Express, LLC?

 15                 WITNESS JALLOW:         Sometimes my accountant --
 16          when the accountant, like a buyer, is supposed to

 17          pay us, we only had that one account, they

 18          deposit the money there sometimes.

 19                 MR. CARMICHAEL:         Who are they?

 20                 WITNESS JALLOW:         Our customers.

 21                      It could be any -- any customer that try

 22          to -- starts for our money or sell us money, we

 23          given the -- we have a BJL account, they put the

 24          money there.         So the money you see for this

 25          whole, it's not only BJL Express account's money.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 33 of 60


                                                                                 63

  1                 MR. JONES:       May I, Counsel?

  2                 MR. CARMICHAEL:         Yes.

  3                 MR. JONES:       Mr. Jallow, what you told us now
  4          is very helpful.           If I can explore this, maybe we

  5          can finish up that idea as to what happened and

  6          then move on; but I've got to know, they got to
  7          know, the Court's got to know.

  8                 WITNESS JALLOW:         Correct.

  9                 MR. JONES:       It sounds like what you're
 10          saying to us is, is that these BJL Express
 11          deposits for '21 and '22, not '23, but '21 and

 12          '22, is that a certain amount came in that was
 13          money made for by BJL, right?

 14                 WITNESS JALLOW:         Uh-huh.

 15                 MR. JONES:       Then it appears to be that there
 16          was another amount or several different amounts

 17          that were made by someone other than BJL.

 18                 WITNESS JALLOW:         Correct.

 19                 MR. JONES:       But --

 20                 WITNESS JALLOW:         The money was --

 21                 MR. JONES:       So that's what made the

 22          difference.         BJL may have made $10,000 in a

 23          month, but then AB (sic) may have come in with

 24          something else, but you took the money that came

 25          from the other entity and threw it into BJL?
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 34 of 60


                                                                                 64

  1                 WITNESS JALLOW:         Correct.

  2                      Because we had the loss, so we had to

  3          keep the business alive, so we're taking money
  4          from --

  5                 MR. JONES:       This is way before the lawsuit?

  6                 WITNESS JALLOW:         Yes.
  7                      We taking money from somewhere just to

  8          keep us running.

  9                 MR. JONES:       Now, my question is -- and I'm
 10          sure that counsel wants to know too, like
 11          everybody in here wants to know, and that is, is

 12          there any place wherein your accounting shows
 13          what money came in that was actually supposed to

 14          go to BJL and what money came in from the other

 15          entities?
 16                 WITNESS JALLOW:         The account was so that --

 17          because some deposits would be like from -- from

 18          the -- if we look at the bank statement, we can

 19          tell this is for BJL or this is not for BJL.

 20                 MR. JONES:       You can look at those statements

 21          and tell?

 22                 WITNESS JALLOW:         Ya.    We can look at it.

 23                 MR. JONES:       You can look --

 24                 WITNESS JALLOW:         Yes.

 25                 MR. JONES:       Why would you be looking at
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 35 of 60


                                                                                 65

  1          those statements and tell?

  2                 WITNESS JALLOW:         I can tell.

  3                 MR. JONES:       All right.
  4                      I'll tell you what, is that what I'm

  5          going to do is this, and I won't do this for

  6          everyone, but I want to kind of get an idea, take
  7          a look from 2021, January 2021, the first one --

  8                 WITNESS JALLOW:         Yes.

  9                 MR. JONES:       Alrighty.
 10                      Now, if you could, can you tell, by
 11          looking at that, what money actually belonged to

 12          BJL and what money came from another entity, can
 13          you tell that by looking at it?

 14                 WITNESS JALLOW:         For instance, on January,

 15          number 04, January 4th, money transfer from
 16          Teneng Jawneh, that's -- an amount of 495, that

 17          is not a BJL client, that's an ABJ client.

 18                 MR. JONES:       Okay.

 19                      That person, what did -- what did

 20          they -- you said -- what's the name again?

 21                 WITNESS JALLOW:         Teneng Jawneh.       Look at --

 22                 MR. JONES:       Okay.

 23                      Now, what was that for, was that for

 24          import?

 25                 WITNESS JALLOW:         Shipping.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 36 of 60


                                                                                 66

  1                 MR. JONES:       Shipping?

  2                 WITNESS JALLOW:         Ya.    It was shipping.

  3                 MR. JONES:       Okay.
  4                      What else do you see on there?

  5                 WITNESS JALLOW:         And the one after that,

  6          money transfer authorized from Matarr Kanteh, one
  7          ninety-eight.          That's also money from the

  8          shipping side ABJ, not from BJL.

  9                      Because the way I know most of the time
 10          is BJL has few clients and we know those clients.
 11          They are -- normally from business.                 And this

 12          shipping side is individuals.
 13                 MR. JONES:       Okay.

 14                 WITNESS JALLOW:         You see the individual

 15          names, is how they come.              So, us, in a small
 16          business, the way we have it, we could -- we

 17          couldn't --

 18                 MR. JONES:       So, if I could just interrupt

 19          for one second.

 20                      So, given a couple of hours, you could

 21          go back through each one of those and show which

 22          ones weren't BJL and came from shipping?

 23                 WITNESS JALLOW:         Yes.    I can do -- I can

 24          look at it --

 25                 MR. JONES:       You know Counsel's going to ask
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 37 of 60


                                                                                 67

  1          you.

  2                 WITNESS JALLOW:         Yes.

  3                 MR. JONES:       Counsel's going to say, why in
  4          the heck did you-all wait so long to let us know

  5          this?     We've been dealing with this since June.

  6                 WITNESS JALLOW:         Yes.
  7                 MR. JONES:       And I think that I asked and I

  8          think they've asked and I think the trustee

  9          asked, why wouldn't you tell us all this before
 10          today?
 11                 WITNESS JALLOW:         I mean, when going through

 12          the details, we -- we can -- we have to go
 13          through each account and -- to know it exactly.

 14                 MR. JONES:       I understand; but I'm just

 15          saying, is there any explanation that I can give
 16          them as to -- because they've been asking.

 17                 WITNESS JALLOW:         Yes.

 18                 MR. JONES:       And I've been asking too and the

 19          trustee asked.

 20                 WITNESS JALLOW:         Yes.

 21                 MR. JONES:       It seemed like -- it seemed

 22          almost simple, you took money that came from

 23          another entity, stuck it under BJL --

 24                 WITNESS JALLOW:         Yes.

 25                 MR. JONES:       -- didn't make the proper
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 38 of 60


                                                                                 68

  1          accounting for it, but that's why it looks like

  2          BJL is inflated.

  3                 WITNESS JALLOW:         Uh-huh.
  4                 MR. JONES:       And that --

  5                 WITNESS JALLOW:         Actually, it wasn't.          Ya.

  6                 MR. JONES:       Ya.    That's what it looks like,
  7          BJL was inflated, as far as the money that came

  8          in; but maybe, the money that actually came in

  9          that was for BJL was much lower.
 10                 WITNESS JALLOW:         Exactly.
 11                 MR. JONES:       Counsel.

 12                 MR. CARMICHAEL:         Does ABJ have its own bank
 13          account?

 14                 WITNESS JALLOW:         ABJ, like -- no.        No.

 15                 MR. CARMICHAEL:         So, ABJ Logistics has no
 16          bank account, as we sit here today?

 17                 WITNESS JALLOW:         It doesn't have a -- it

 18          doesn't have a bank -- let me see.                 It doesn't

 19          have a bank account right now, but it used to

 20          have a bank -- but it doesn't have a bank

 21          account.

 22                 MR. CARMICHAEL:         When did ABJ Logistics have

 23          a bank account?

 24                 WITNESS JALLOW:         I have to go back and

 25          check.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 39 of 60


                                                                                 69

  1                 MR. CARMICHAEL:         Well, just give me your

  2          best idea.

  3                      Did it have a bank account, ABJ that is,
  4          in 2021?

  5                 WITNESS JALLOW:         Yes.    I think it does.         I

  6          have to go and check.
  7                 MR. CARMICHAEL:         Okay.

  8                      Did it have -- did ABJ Logistics have a

  9          bank account in 2022?
 10                 WITNESS JALLOW:         It should, but I have to go
 11          and check.

 12                 MR. CARMICHAEL:         Well, why didn't you just
 13          deposit ABJ's money into ABJ's bank account?

 14                 WITNESS JALLOW:         Why didn't we put the

 15          money -- at one point, there was an account for
 16          ABJ.    So we put in the money from ABJ to BJL.

 17                 MR. CARMICHAEL:         Where are we?

 18                 THE COURT REPORTER:            Six.

 19                 (Whereupon, Movant's Exhibit Number Six was

 20          marked for identification.)

 21   BY MR. CARMICHAEL:

 22          Q      Here's Movant's Exhibit Six.

 23                 MR. CARMICHAEL:         Here's a copy for you,

 24          Milton.

 25                 MR. JONES:       All right.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 40 of 60


                                                                                    70

  1                        Tax returns.

  2                 (Whereupon, Movant's Exhibit Number Seven

  3          was marked for identification.)
  4                 MR. CARMICHAEL:         That'll be Number Seven.

  5                 MR. JONES:       That's the -- I think that's the

  6          amended tax return or was it amended?                  Okay.
  7                 THE WITNESS:        This is the amended one?

  8                 MR. JONES:       I think we did this after.               I'm

  9          not sure it was amended, but it was new, for '21.
 10                 MR. CARMICHAEL:         Here's Number Eight (sic),
 11          copy for you.

 12                 MR. JONES:       Uh-huh.
 13                 THE COURT REPORTER:          That was Seven.

 14                 MR. CARMICHAEL:         I'm sorry.      Seven.       My

 15          fault.        Seven.
 16                        And then -- we'll get to that in a

 17          moment.

 18   BY MR. CARMICHAEL:

 19          Q      So I've marked the 2021 return, tax return

 20   as M6; do you have it there as Movant's Exhibit Six;

 21   do you have it there, Ms. Nyang?

 22          A      Yes.     Yes.

 23          Q      Is this a true and accurate copy of BJL

 24   Express's tax return for 2021?

 25          A      I believe so.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 41 of 60


                                                                                 71

  1          Q      And who prepared that for you?

  2          A      The -- Princewill.

  3          Q      And would you spell his name please, his
  4   full name?

  5          A      P-r-i-n-c-e-w-i-ll.

  6          Q      That's his last name?
  7          A      That's his first name.

  8          Q      And what is his full name?

  9          A      Princewill Odidi.
 10          Q      How do you spell the last name?
 11          A      O-d-i-d-i.

 12          Q      And where is he located?
 13          A      We have an address.          I'm not certain, like,

 14   I don't recall the location.

 15          Q      I'm sorry?
 16          A      There's an address for it.

 17          Q      Where?

 18          A      Let me check.

 19                 Could you pull out the address for me?                  I

 20   turned off my phone.

 21                 WITNESS JALLOW:         In Dunwoody.       Let me see.

 22                 MR. CARMICHAEL:         If I could get a phone

 23          number and an address, I'd appreciate it,

 24          Mr. Jallow.

 25                 WITNESS JALLOW:         I think it's 300 Concourse
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 42 of 60


                                                                                 72

  1          Drive (sic), Dunwoody -- I mean, Dunwoody,

  2          Georgia.        Dunwoody, ya, the Concourse building,

  3          300 Concourse building.
  4                 MR. CARMICHAEL:         Do you have a phone number?

  5                 WITNESS JALLOW:         Yes, I do.      (678) 471-9826.

  6   BY MR. CARMICHAEL:
  7          Q      Okay.

  8                 Movant's Exhibit Six, Ms. Nyang, is the 2021

  9   tax return for BJL Express, LLC; is that right?
 10          A      Yes, I believe so.
 11          Q      I see that it is not signed.             Was it signed?

 12          A      It's supposed to be signed.
 13          Q      Was it filed with the Internal Revenue

 14   Service?

 15          A      I believe so.
 16          Q      Who signed it?

 17          A      I'm supposed to.         I signed it.

 18          Q      You signed it?

 19          A      Ya.

 20          Q      When did you sign it?

 21          A      I don't remember.

 22          Q      Was it this year?

 23          A      After -- yes.

 24          Q      Was it after the bankruptcy was filed?

 25          A      Yes.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 43 of 60


                                                                                  73

  1          Q      How long after the bankruptcy?

  2          A      I don't exactly remember.

  3          Q      Do you remember talking about it during the
  4   trustee meetings?

  5          A      Yes.

  6          Q      That we had on conference call?
  7          A      Uh-huh.

  8          Q      Yes?

  9          A      Yes.
 10          Q      Okay.
 11                 And you said you were preparing these.                  And

 12   then, on another occasion, you said that you thought
 13   you had prepared the 2021 and had indeed filed it; is

 14   that right?

 15          A      Yes.
 16          Q      And is this what you believe you filed?

 17          A      Yes.

 18          Q      This Movant's Exhibit Six?

 19          A      Yes.

 20          Q      Well, it continues the same revenue number

 21   that's reflected on Movant's Exhibit One, $1,385,400.

 22                 So here, on Movant's Exhibit Six, we have a

 23   tax return where BJL Express is reporting the same

 24   income that includes this ABJ income, that Mr. Jallow

 25   was just talking about, yet BJL Express, LLC is
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 44 of 60


                                                                                 74

  1   filing a tax return with the IRS saying it's their

  2   income; can you explain that to me?

  3          A      That's because of the -- the accountant was
  4   given the bank statement.              I mean, the bank statement

  5   to file for.

  6          Q      What accountant?
  7          A      The -- with Princewill, they wanted him to

  8   do the taxes.

  9          Q      You're saying Princewill Odidi did the 2021
 10   tax return that's Movant's Exhibit Six?
 11          A      Yes.

 12          Q      I thought you had Mr. Taylor during the
 13   bankruptcy?

 14          A      This was filed before Taylor came, during

 15   the bankruptcy.
 16          Q      So Mr. Odidi -- Princewill Odidi prepared a

 17   tax return during the bankruptcy and filed it after

 18   you signed it during the bankruptcy time period --

 19          A      Yes.

 20          Q      -- is that right?

 21          A      When the bankruptcy requested for the taxes,

 22   that's when he filed it.

 23          Q      So, you remember that meeting we had where

 24   there was an IRS person on the phone?

 25          A      Yes.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 45 of 60


                                                                                 75

  1          Q      It was after that meeting that this was

  2   filed?

  3          A      Yes.
  4          Q      And Mr. Odidi prepared it and took care of

  5   that for you?

  6          A      Yes.
  7          Q      Well, why are you -- if some of this money

  8   was ABJ's money, reporting it as BJL's money to the

  9   IRS?
 10          A      He uses the statement.           That's what he
 11   used -- what's on the statement.

 12          Q      I hear you, Ms. Nyang; but again, this is
 13   your tax return, this is BJL Express's tax return.

 14   You signed it.

 15                 Why are you saying BJL Express had revenues
 16   of $1,385,400 if, as Mr. Jallow said is true, it

 17   wasn't -- it wasn't 1,385,000; why are you

 18   perpetuating that?

 19          A      So that's -- that's what we need to go back

 20   and look at.         Because, like, he's saying that there's

 21   some numbers that are here, we just came to realize

 22   it's not for BJL clients.              So, that means that we

 23   have to go fix the taxes again.

 24          Q      Okay.

 25                 If you would, look at Movant's
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 46 of 60


                                                                                 76

  1   Exhibit Seven, is that a true copy of the 2022

  2   Amended U.S. Corporation Income Tax Return for BJL

  3   Express, LLC for 2022?
  4          A      Yes.

  5          Q      And you'll see, these numbers match the

  6   $1,465,874 set forth in revenues or gross receipts or
  7   sales on line 1A of the tax return matches almost

  8   exactly the 1,465,000 that is on Movant's

  9   Exhibit Two; is that right?
 10          A      Yes.
 11          Q      Again, did Mr. Princewill Odidi prepare this

 12   tax return?
 13          A      Yes.

 14          Q      And he prepared it during this bankruptcy;

 15   is that right?
 16          A      Yes.

 17          Q      And you filed it with the IRS?

 18          A      I believe we did.

 19          Q      Do you know when?

 20          A      I'm not certain when.

 21          Q      Did you sign it?

 22          A      Yes.

 23          Q      Do you have -- with respect to Movant's

 24   Exhibit Six or Seven, any proof that you have filed

 25   these returns with the IRS?               Do you have a receipt or
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 47 of 60


                                                                                 77

  1   a stamp filed or something that shows us that it was

  2   actually filed, that these returns were actually

  3   filed with the IRS?
  4          A      I don't have anything at the moment with me.

  5   I don't have anything, no.

  6          Q      Do you have something?           Do you remember that
  7   you did receive some confirmation of the filing?

  8          A      Confirmation?

  9          Q      Yes.
 10                 From your accountant or from the IRS that it
 11   was filed?

 12          A      Yes.     From the accountant.
 13          Q      What was it; a letter from him or what, an

 14   email?

 15          A      Phone call.
 16          Q      From Mr. Princewill Odidi?

 17          A      Yes.

 18          Q      So he filed both of these, the 2021 and the

 19   2022, you're confident?

 20          A      I'm certain he filed it, because he did call

 21   and verify on it.

 22                 (Whereupon, Movant's Exhibit Number Eight

 23          was marked for identification.)

 24                 MR. CARMICHAEL:         This will be Number Eight.

 25                 MR. JONES:       2020.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 48 of 60


                                                                                 78

  1   BY MR. CARMICHAEL:

  2          Q      And Ms. Nyang, Movant's Exhibit Eight,

  3   that's the tax return for two -- for BJL for 2020; is
  4   that right?

  5          A      Yes.     Uh-huh.

  6          Q      And this one is signed?
  7          A      This is signed.         Yes.

  8          Q      It was signed August 7 of this year; is that

  9   right?
 10          A      Yes.
 11          Q      Is that when it was filed?

 12          A      Yes.
 13          Q      Is that when the other two were filed, about

 14   that same time?

 15          A      I think this one was filed before.
 16          Q      Which one are you holding there when you say

 17   this one, Number Eight?

 18          A      Number Eight, yes.

 19          Q      Eight was filed before Six and Seven; is

 20   that what you said?

 21          A      They filed -- he filed everything the same

 22   time.      So I'm not -- I don't know if he put it in

 23   first, second, third.

 24          Q      Okay.

 25          A      Or at the same time, everything one time,
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 49 of 60


                                                                                 79

  1   but we filed everything by -- by the request from the

  2   IRS that we needed to file these.

  3          Q      So it's safe for us to assume that you filed
  4   all three of these returns in August of this year,

  5   correct?

  6          A      Yes.     Yes.
  7                 (Whereupon, Movant's Exhibit Number Nine was

  8          marked for identification.)

  9                 MR. CARMICHAEL:         Here's Movant's Number
 10          Nine, copy for you.
 11                 MR. JONES:       Okay.

 12   BY MR. CARMICHAEL:
 13          Q      Ms. Nyang, Movant's Exhibit Number Nine is a

 14   copy of the June 2023 Monthly Operating Report for

 15   BJL Express; is that right?
 16          A      Yes.

 17          Q      And if you'll turn to the Page 7 of 27, I'll

 18   have a few questions; are you there?

 19          A      Yes.

 20          Q      Do you see the entries in June 2023 marked,

 21   quote, Owner Investment, end quote?

 22          A      Yes.

 23          Q      What does that mean?

 24          A      I'll let Mr. Jallow respond to that, if

 25   that's okay with you.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 50 of 60


                                                                                 80

  1          Q      Well, I -- do you know the answer?

  2          A      I don't.

  3          Q      Do you know where this -- did this -- I will
  4   ask Mr. Jallow in a moment, but I want to ask you

  5   about this first, before I let him chime in -- chime

  6   in.
  7          A      Uh-huh.

  8          Q      This says Owner Investment, was this money

  9   that came from a bank account?
 10          A      I don't know.
 11          Q      Let's take -- look at this $11,724 on

 12   June 30, 2023, it says Owner Investment -- well,
 13   first of all, that's you, that's -- you're the owner?

 14          A      Uh-huh.

 15          Q      Is that right?
 16          A      Yes.

 17          Q      Okay.

 18                 Do you know where you obtained this $11,724?

 19          A      I -- like I said, I don't know.

 20          Q      You don't know; but it's your investment?

 21          A      I don't know.

 22          Q      Well, who marked -- who marked this Owner

 23   Investment, who prepared this sheet, this exhibit C,

 24   Total Cash Receipts, who prepared this?

 25          A      This was in June.         I don't know.        I thought
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 51 of 60


                                                                                 81

  1   we -- like that -- this would be from the accountant.

  2          Q      What accountant, what's his name?

  3          A      Mr. Taylor.
  4          Q      Did this money on this Page 7 of 27 marked

  5   Owner Investment come from a bank account in your

  6   personal name?
  7          A      I don't know.

  8          Q      Do you know if it came from a bank account

  9   in the name of ABJ Logistics?
 10          A      I don't know.
 11          Q      Do you have any idea where the Owner

 12   Investment money came from that's listed on Page 7 of
 13   27?

 14          A      I'm not sure.        I don't know.       I don't know.

 15          Q      Ms. Nyang, do you have a personal bank
 16   account?

 17          A      Yes, I do.

 18          Q      Do you have more than one?

 19          A      No.    I only have one.

 20          Q      Where is your personal bank account, what

 21   bank?

 22          A      Wells Fargo.

 23          Q      Wells Fargo?

 24          A      Yes.

 25          Q      Do you have any other bank accounts on --
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 52 of 60


                                                                                 82

  1   oh, before I ask that, I take it you have signatory

  2   authority on the DIP account that the debtor has,

  3   yes?
  4          A      Yes.

  5          Q      Do you -- and you have signatory authority,

  6   of course, on your own personal account at Wells
  7   Fargo?

  8          A      Yes.

  9          Q      Do you have signatory authority on any other
 10   bank accounts?
 11          A      No.

 12          Q      Do you have signatory authority on ABJ
 13   Logistics' bank account?

 14          A      No.

 15          Q      Did -- how did this Page 7 of 27 come to be
 16   prepared?

 17          A      Page what?

 18          Q      How did this come to be prepared, listing

 19   these owner investments, who told the accountant to

 20   do this?

 21          A      I believe these are cash apps.

 22          Q      What is cash apps and what do you mean by

 23   cash apps?       First of all, what is cash apps and what

 24   do you mean by that?

 25          A      They're -- it's -- I don't know how to
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 53 of 60


                                                                                 83

  1   explain it.       It's a Cash App.           It's an app.

  2          Q      You mean like Zelle?

  3          A      Zelle, ya.
  4          Q      Okay.

  5                 So you're saying you Zelled money to BJL?

  6          A      I would say so.         Ya.
  7          Q      So all this Owner Investment here, it came

  8   from your personal account and you -- you sent it via

  9   a Cash App like Zelle, Z-e-l-l-e, to the debtor's DIP
 10   account; is that what you're saying?
 11          A      I don't understand.

 12          Q      What's the answer?          I couldn't hear you.
 13          A      The Cash App, most of the time, is probably

 14   like what we pay in clients or customer -- I mean,

 15   clients that are not, like, close by or buying fuel,
 16   like, sending it to a driver.                So, that's what we

 17   will send the cash app, usually what the cash app is

 18   for.

 19          Q      For paying a driver?

 20          A      For paying a driver or sending a driver

 21   money to buy fuel or -- ya.               That's probably what --

 22   or paying for maintenance, that's what we use it for.

 23          Q      Well, that makes sense that you would use a

 24   cash app for that; but are you saying, now that you

 25   thought about it, you think these are not cash apps
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 54 of 60


                                                                                   84

  1   payments, these owner investments, that are listed on

  2   Page 7 of 27?

  3          A      The Cash App is -- it's in my -- well, used
  4   to be my personal account.              So when I send money, it

  5   would come from my personal account.                  So, if I

  6   probably have to send money, my account should have
  7   money in it.         So sometimes, I would transfer from the

  8   business to my personal, so I can send to an employee

  9   or whoever I'm sending it to.
 10          Q      But here, we have money going in the
 11   opposite direction, we have money coming from

 12   somewhere into BJL Express, correct?
 13          A      Yes.

 14          Q      Is that you paying that money into BJL

 15   Express from your personal account?
 16          A      It's me probably, like, from the clients

 17   that are paying, the -- the shipping clients that

 18   pay, they pay -- sometimes they pay into my account.

 19          Q      Into your personal account?

 20          A      The shipping, not the trucking clients, the

 21   shipping clients, they would just send the money --

 22   instead of sending it to him, they would send it to

 23   my account.

 24                 MR. JONES:       Excuse me, just one second.             I'm

 25          sorry to interrupt.            I hear shipping and I hear
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 55 of 60


                                                                                 85

  1          trucking.

  2                 THE WITNESS:        Right.

  3                 MR. JONES:       If you say shipping, are you
  4          saying this is money that came from ABJ?

  5                 THE WITNESS:        ABJ.

  6                 MR. JONES:       Which is shipping.
  7                 THE WITNESS:        Right.

  8                        So, if they accidentally send money to

  9          my account, I will send it back to BJ -- I mean,
 10          to the -- BJL, the --
 11   BY MR. CARMICHAEL:

 12          Q      Well, Ms. Nyang, how could it be accidental?
 13          A      Because the clients that are sending it

 14   knows that's he's my husband, so they're paying him.

 15   So if they're sending him money, sometimes they can
 16   send it to me instead of him.

 17          Q      But how do they have your personal account?

 18          A      It's not -- Cash App is not a personal

 19   account, like, basis.             They have a phone number.

 20          Q      Ms. Nyang --

 21          A      Yes.

 22          Q      -- the money came from an account somewhere,

 23   didn't it?

 24          A      Right.

 25          Q      This money, this $11,724 went into BJL on
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 56 of 60


                                                                                 86

  1   June 30; is that right?

  2          A      Uh-huh.

  3          Q      Yes?
  4          A      Yes.

  5          Q      Where did it come from?

  6          A      I don't know.        I'm --
  7          Q      Do you think it might have come from your

  8   personal account?

  9          A      I'm not sure.        Honestly.      I don't know.
 10          Q      Do you think it might have come from ABJ
 11   Logistics bank account?

 12          A      I don't know.
 13                 MR. CARMICHAEL:         Okay.

 14                        Mr. Jallow, what can you -- what light

 15          can you bring to this situation?
 16                 WITNESS JALLOW:         The Cash App is linked to

 17          her personal account.            It's like it has phone

 18          number.       So we use the app to pay -- to pay and

 19          receive income from the app.

 20                 MR. CARMICHAEL:         So customers have Nenneh

 21          Nyang's personal bank account information to pay

 22          money into her personal bank account?

 23                 WITNESS JALLOW:         They have phone number.

 24          It's a phone number.            It just -- Cash App app,

 25          you can transfer anybody cash, just with their
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 57 of 60


                                                                                 87

  1          phone number.          And that phone number is probably

  2          connected to her personal account.

  3                 MR. CARMICHAEL:         That's not what this says,
  4          Mr. Jallow.         This says Owner Investment.

  5          Where -- let me ask a question, please, sir.

  6                      Where did this $11,724 come from, what
  7          bank account did it come from?

  8                 WITNESS JALLOW:         It comes from her personal

  9          to the business account.
 10                 MR. CARMICHAEL:         How did the money get into
 11          her personal bank account to begin with?

 12                 WITNESS JALLOW:         It came from Cash App.
 13          Cash received from different --

 14                 MR. CARMICHAEL:         Cash apps from whom?

 15                 WITNESS JALLOW:         From different people.
 16                 MR. CARMICHAEL:         Who?

 17                 WITNESS JALLOW:         People who shipping stuff.

 18          Who's shipping.          If business has a shipping,

 19          people who -- who -- it's a convenient way of

 20          paying cash.

 21                 MR. CARMICHAEL:         Okay.

 22                      So A -- are you saying ABJ's customers

 23          paid this 11 --

 24                 WITNESS JALLOW:         ABJ or BJL clients.

 25                 MR. CARMICHAEL:         Okay.    Let me -- may I ask
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 58 of 60


                                                                                  88

  1          my question --

  2                 WITNESS JALLOW:         Go ahead.

  3                 MR. CARMICHAEL: -- before you answer?                 Okay.
  4                       Did this 11,024 -- $11,724 come from

  5          ABJ's customers into Ms. Nyang's personal account

  6          or from BJL's customers into Ms. Nyang's personal
  7          account?

  8                 WITNESS JALLOW:         That was from BJL

  9          customers.
 10                 MR. CARMICHAEL:         The $11,724?
 11                 WITNESS JALLOW:         Correct.

 12                 MR. CARMICHAEL:         Came into her personal bank
 13          account?

 14                 WITNESS JALLOW:         Correct.

 15                 MR. CARMICHAEL:         Well, then, we need to see
 16          her personal bank account from --

 17   BY MR. CARMICHAEL:

 18          Q      Do we have it here?

 19          A      No.

 20                 MR. CARMICHAEL:         Okay.

 21                       We need to see her personal bank account

 22          for at least -- to compare it, fairly --

 23          January 1, 2022 forward.

 24                       So please, do you need a formal request

 25          or is this sufficient?
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 59 of 60


                                                                                 89

  1                 MR. JONES:       I think that's sufficient.

  2                      Counsel, if I may, you and I are the

  3          only people old enough to remember President
  4          Nixon, but there was a saying that we used to

  5          always have that the cover-up's worse than the

  6          crime, is that -- it looks like, in getting to
  7          the bottom of all this, that we have just a whole

  8          bunch of commingling.            And, you know, I mean, I'm

  9          just -- I know -- and I know, duh; but still, it
 10          sounds like, you know -- and it took us all this
 11          time to get to the point where we just -- you

 12          know, it looks like -- and it was compounded,
 13          because you made tax returns, you've made amended

 14          tax returns.

 15                      What should have been done was that you
 16          just said this belongs to ABL (sic) and this

 17          belongs to BLJ (sic).            It's just kind of like a

 18          well, duh.        And when the only investment --

 19          because I'm hearing you say things like -- when I

 20          say you, I'm talking about Ms. Nenneh (sic) --

 21          say things like shipping.              When I hear shipping

 22          from our conversation so far, is that it sounds

 23          like shipping means that it was -- belong to ABJ,

 24          but if it was trucking, it belonged to BJL.                     I

 25          mean, it sounds -- that's what I'm hearing.
Case 23-54963-sms   Doc 46    Filed 01/08/24 Entered 01/08/24 12:07:15   Desc Main
                             Document     Page 60 of 60


                                                                                   90

  1                      And so, what you have -- because I mean,

  2          it makes you-all look bad (indicating to

  3          Ms. Nyang and Mr. Jallow).              Okay.     I'm just going
  4          to say it.        It makes you look bad.           And you're

  5          not bad people, but it makes you look bad.                     It

  6          makes it look like you're trying to cover
  7          something up.          When it should be, you know, that

  8          owner investment, you know, the things that come

  9          in on the month lease, it's just like it should
 10          be just relatively simple.
 11                      And I -- what I'm trying to get to, I

 12          guess, folks, if I ask you-all this, we're just
 13          sitting in here talking, okay, is there any

 14          reason why you-all did it this way, to make it so

 15          compli -- confusing?
 16                 WITNESS JALLOW:         Once because of -- the

 17          convenience of getting Cash App or Zelle makes it

 18          easy for the clients to send Zelle.

 19                 MR. JONES:       So it was done for a matter of

 20          convenience, but it -- it made everything look

 21          really, really murky.            Go ahead.

 22                 THE WITNESS:        I would say because the

 23          business is a small business, first of all.                     And

 24          me creating a business being in my name doesn't

 25          expose me to all -- all the work, like, being an
